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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ________________________________________________
 SARA COOMBS, et al.

                                    Plaintiffs,
                            v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,
 FORMER MAYOR BILL DEBLASIO,                INDEX No.: 1:22 CV 02234-EK-LB
 COMISSIONER ASHWIN VASAN, MD, PHD
 DEPARTMENT OF HEALTH AND MENTAL HYGIENE, NOTICE OF MOTION TO
 DEPARTMENT OF EDUCATION, AND DOES 1-20     WITHDRAW AS COUNSEL

                                     Defendants.
_____________________________________________________________________________________________

         Pursuant to Local Civil Rule 1.4 of the United States District Curt for the Eastern District of New York, the

Women of Color For Qual Justic Law Center attorney Jo Saint-George, along with attorney’s Tricia S. Lindsey and

Donna Este- Green, hereby moves to withdraw as counsel for Plaintiff, Amoura Bryan only. A declaration in

support of this motion is submitted herewith.




                                                               /s/ Jo Saint – George
Dated: October 16, 2024                                        Jo Saint-George, Esq.
                                                               14216 Dunwood Valley Dr.
                                                               Bowie MD 20721-1246
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                                                               Phone: 301-447-3600


                                                               /s/ Donna Este- Green
                                                               Donna Este-Green, Esq. Bar#2517688
                                                               25 Fairway Dr.
                                                               Hempstead, NY 11550


                                                               /s/ Tricia S. Linday
                                                               Tricia S. Lindsay, Esq.
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                                                               Mount Vernon, New York 10552
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2024, I caused a copy of this Motion to Withdraw to

be electronically served on Defendants to:




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Labor and Employment Law Division
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Dated: October 16, 2024
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